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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


DEBORAH LAUFER,

        Plaintiff

v.                                                 Case No. 1:20-CV-2119-CCB
PRESTIGE HOSPITALITY GROUP, LLC,

        Defendant



MEMORANDUM OF LAW IN SUPPORT PRESTIGE HOSPITALITY GROUP, LLC’S
                     MOTION TO DISMISS

        Defendant Prestige Hospitality Group, LLC (hereinafter “Prestige” or “Defendant”), by

and through undersigned counsel, hereby submits this Memorandum of Law in support of its

Motion to Dismiss for insufficiency of service of process pursuant to Rule 12(b)(5).

                                            INTRODUCTION

        Plaintiff Deborah Laufer filed a claim in this Court against Defendant seeking injunctive

relief arising from Prestige’s alleged violations of the Americans with Disabilities Act, 42 U.S.C.

§ 12181 et seq. (“ADA”). ECF No. 1. Plaintiff named Prestige as the sole Defendant in her

action. Id. Prestige is a Maryland limited liability company that owns and operates the Comfort

Inn and Suites BWI Airport, a hotel located at 6921 Baltimore Annapolis Boulevard, Baltimore,

Maryland 21225 (“the hotel”). See Articles of Organization filed July 17, 2018, attached hereto

as Exhibit 1.

        As fully set forth below, Plaintiff never effectuated proper service of process upon

Defendant in accordance with the Federal Rules of Civil Procedure or the Maryland Rules of

Civil Procedure. Effective service was not made prior to the expiry of the Summons on October



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22, 2020. It has now been more than ninety (90) days since the filing of the Complaint, and the

Summons has therefore expired. Because Plaintiff failed to effectuate proper service within the

prescribed timeframe, this Court lacks jurisdiction over this Defendant in this action and

Plaintiff’s Complaint must be dismissed in its entirety.

                     PROCEDURAL AND FACTUAL BACKGROUND

       Plaintiff filed the instant action on or about July 21, 2020, naming Prestige Hospitality

Group, LLC as the sole Defendant and alleging violations of the ADA in connection with

Prestige’s operation of the Comfort Inn and Suites BWI Airport. ECF No. 1. On July 22, 2020,

the Court issued a 21-day Summons directed to Prestige in connection with the Complaint. On

September 13, 2020, Plaintiff filed a Return of Service asserting that Prestige had been served

with the Summons and Complaint through “Imren Shah,” as “General Manager,” on August 31,

2020. ECF No. 3. In the Return of Service, J. Matthews Manlich asserted that he:

               “executed service by delivering a true copy of the
               SUMMONS IN A CIVIL ACTION, AND COMPLAINT
               in accordance with state statutes in the manner marked below:

               CORPORATE SERVICE/LLC: By serving Imren Shah as
               General Manager served the within-named person by
               delivering a true copy of pleadings and informed said person
               of the contents therein, with the date, hour and initials of
               service endorsed thereon by me and in compliance with State
               Statutes.”

Id. Mr. Imran1 Shah is employed by Prestige as the General Manager of the hotel. See Affidavit

of Imran Shah, attached hereto as Exhibit 2. Mr. Shah is responsible for the day to day operations

of the hotel. Id. Mr. Shah denies ever being served with a Summons and Complaint in




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  No individual by the name of “Imren Shah” is employed by or otherwise affiliated with
Prestige.

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connection with this action.2 Id. Moreover, Mr. Shah is not a member of and does not have an

ownership interest in Prestige. He is not the Resident Agent, nor is he an officer. Exhibit 2.

Prestige has not authorized Mr. Shah to accept service of process of any legal papers on behalf of

Prestige. Exhibit 2.

       Mr. Ravi Nichani is a Member of and the Resident Agent for Prestige. See Exhibit 1; See

also Affidavit of Ravi Nichani, attached hereto as Exhibit 3. Mr. Nichani was never served with

the Summons and Complaint. Id. Mr. Nichani, as a Member of Prestige, did not authorize anyone

to accept service on behalf of Prestige. Id. No other member or agent of Prestige has authorized

anyone to accept service of process on behalf of Prestige. Id.

       On September 24, 2020, Plaintiff filed a Motion for Entry of Default by the Clerk. ECF

No. 4. In said Motion, Plaintiff represents that Prestige was served with the Summons and

Complaint on August 31, 2020. Id. The Clerk, relying on the Plaintiff’s erroneous representation

of proper service, entered an Order of Default against Prestige on September 30, 2020. ECF No.

5. On September 30, 2020, Plaintiff filed a Motion for Entry of Judgment After Default. ECF

No. 7. Again, Plaintiff erroneously represented that Prestige was served on August 31, 2020. Id.

It is on that basis that Plaintiff now seeks Default Judgment against Prestige.

       Undersigned counsel was retained to represent Prestige in this matter on October 27,

2020. Two (2) days later, on October 29, 2020, concurrently with this Motion, undersigned

counsel filed a Motion to Set Aside Clerk’s Entry of Default pursuant to FRCP 55 on behalf of

Prestige. Undersigned counsel also filed, on October 29, 2020, concurrently with this Motion, an

Opposition to Plaintiff’s Motion for Entry of Judgment after Default.




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  On its face, the Return of Service does not indicate that Imran Shah was ever served, as it states
that “Imren Shah” was served with copies of the Summons and Complaint. ECF No. 3.

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       As the Summons in this action was issued on July 22, 2020, and an appropriate individual

was not served within ninety (90) days of the filing of the Complaint, proper service has not been

effectuated.

                                   STANDARD OF REVIEW

       I.      Motion to Dismiss

       A motion to dismiss for insufficient service of process is permitted by Federal Rule

12(b)(5). Miller v. Baltimore City Bd. of Sch. Com’rs, 833 F. Supp. 2d 513, 516 (2011). If

service is contested, the “plaintiff bears the burden of establishing [its] validity . . . pursuant to

[Federal] Rule [of Civil Procedure] 4.” Id. (quoting O’Meara v. Waters, 464 F. Supp. 2d 474,

476 (D. Md. 2006)). In determining whether the plaintiff has satisfied their burden, the

applicable rules regarding proper service “are there to be followed, and plain requirements for

the means of effecting service of process may not be ignored.” Elkins v. Broome, 213 F.R.D.

273, 275 (M.D.N.C. 2003) (citing Armco, Inc. v. Penrod–Stauffer Bldg. Sys., Inc., 733 F.2d

1087, 1089 (4th Cir. 1984). Ultimately, when determining whether proper service was

effectuated, the Court should not ignore the plain requirements for the means of effecting service

of process. Armco, 733 F.2d at 1089; O’Meara v. Waters, 464 F. Supp. 2d 474, 476 (D. Md.

2006) (“plain requirements for the means of effecting service may not be ignored.”).

                                           ARGUMENT

       I.      Plaintiff’s Claim Must be Dismissed for Insufficiency of Service of Process
               Because the Summons and Complaint Were Not Served on Any Individual
               Authorized to Accept Service.

       Federal Rule of Civil Procedure 4(h) identifies the methods by which service may be

perfected on a corporation, partnership, or association within a judicial district of the United

States. Rule 4(h)(1)(A) sets forth that service may be perfected “in the manner prescribed by

Rule 4(e)(1) for serving an individual”; or (B) “by delivering a copy of the summons and of the


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complaint to an officer, a managing or general agent, or any other agent authorized by

appointment or by law to receive service of process and--if the agent is one authorized by statute

and the statute so requires--by also mailing a copy to each of the defendant.” Rule 4(e)(1) sets

forth that service may be perfected by “following state law for serving a summons in an action

brought in courts of general jurisdiction in the state where the district court is located or where

service is made.”

        Maryland Rule 2-124(h) provides methods through which service may be made on a

limited liability company in Maryland. Pursuant to that Rule, “[s]ervice is made upon a limited

liability company by serving its resident agent. If the limited liability company has no resident

agent or if a good faith attempt to serve the resident agent has failed, service may be made upon

any member or other person expressly or impliedly authorized to receive service of process.”

        While applicable case law indicates a liberal construction of the provisions of Rule 4,

“the Rules are there to be followed, and plain requirements for the means of effecting service of

process may not be ignored.” Armco, Inc. v. Penrod-Stauffer Building Systems, Inc. 733 F.2d.

1087, 1089 (4th Cir. 1984). Further, where the person served is not an agent on whom proper

service could have been made, the fact that the individual may have advised the proper

Defendant is irrelevant. Free State Receivables, Ltd. v. Claim Processing Corp. of NJ, 76 F.R.D.

85 (D. Md. 1977). Moreover, when service or process on a defendant is improper, the Court

lacks personal jurisdiction over that defendant. Davey Tree Expert Co. v. Moon Site Mgmt., No.

CCB-19-1220, 2020 U.S. Dist. LEXIS 6929, at *4 (D. Md. Jan. 15, 2020) (citing Koehler v.

Dodwell, 152 F.3d 304, 306–07 (4th Cir. 1998) (“Absent waiver or consent, a failure to obtain

proper service on the defendant deprives the court of personal jurisdiction over the defendant.

Moreover, any judgment entered against a defendant over whom the court does not have

personal jurisdiction is void.”)).

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       Together, Federal Rules of Civil Procedure 4(h)(1), 4(e)(1), and Maryland Rule 2-124(h)

identify the accepted methods of effectuating service on a limited liability company in a case

filed in the United States District Court for the District of Maryland. As to perfecting service on

an entity pursuant to federal law, these methods include service on an officer, managing or

general agent, or any agent authorized to accept service; or, as permitted by state law, by serving

the resident agent, or if a good faith attempt to serve the resident agent has failed, any member or

other person authorized to receive service of process. In the present case, no acceptable method

of service of process was effectuated upon Prestige. Mr. Shah is not the Resident Agent for

Prestige. Exhibits 2–3. He is, in fact, an employee of Prestige. Id. However, Plaintiff’s Return of

Service form states that an individual by the name of “Imren Shah” as “General Manager” under

the “CORPORATE SERVICE/LLC” form option was served with the Summons and Complaint.

ECF No. 3. Such a description is insufficient as it represents that the individual who was served

held a corporate position with Prestige, when in fact Mr. Shah (if he is indeed the individual

referenced in the Return of Service) is the General Manager of one hotel owned and operated by

Prestige. Exhibits 2–3. Such employment does not make him authorized to receive service of

process on Prestige’s behalf under the Federal Rules of Civil Procedure or Maryland law. Fed. R.

Civ. Proc. 4(h)(1), 4(e)(1); Md. Rule 2-124(h). Indeed, Mr. Shah himself represents that he was

not authorized to accept service and, in any event, denies ever being served with the Summons

and Complaint. Exhibit 2. Mr. Shah is not an officer, managing or general agent, or any other

agent authorized to accept service in accordance with methods of appropriate service pursuant to

federal law. Exhibits 2–3. Regardless, he is not a Member of or the Resident Agent for Prestige.

Exhibits 2–3. He has no ownership interest in Prestige. Id. He exerts no control whatsoever over

the limited liability company. Id. He was not authorized by Prestige or any of its members to

accept service. Id. His role is that of an employee, tasked with managing the day to day affairs of

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a hotel, not a designated or authorized representative of the entity that owns the hotel. As such,

service was ineffective, as service on Mr. Shah does not equate to service on Prestige.

       Mr. Nichani is the Resident Agent for Prestige. Exhibit 3. He is also a Member of

Prestige. Id. Mr. Nichani’s status as Resident Agent is on file with the Maryland Department of

Assessments and Taxation, and such information is fully available to the public, and was

available to the Plaintiff at the time of filing and attempted service. However, at no point did

Plaintiff avail themself of this information in order to make any attempt – much less a good faith

attempt – to effectuate proper service of process on Prestige via their Resident Agent. Md. Rule

2-124(h). Plaintiff made no other attempt to effectuate proper service of process in accordance

with Federal Rules of Civil Procedure 4(h)(1), 4(e)(1), and Maryland Rule 2-124(h). As such,

having failed to follow the rules and the “plain requirements for the means of effecting service,”

this Court lacks jurisdiction over Prestige, and Plaintiff’s Complaint must be dismissed. Armco,

Inc., 733 F.2d. at 1089; Davey Tree Expert Co., 2020 U.S. Dist. LEXIS 6929, at *4.

       II.    Plaintiff’s Claim Must be Dismissed for Insufficiency of Service of Process
Because the Summons and Complaint Were Not Served Within the 90-Day Timeframe set
Forth in Rule 4(m).

       Federal Rule of Civil Procedure 4(m) provides that “[i]f a defendant is not served within

90 days after the complaint is filed, the court – on motion or on its own after notice to the

plaintiff – must dismiss the action without prejudice against that defendant or order that service

be made within a specified time. But if the plaintiff shows good cause for the failure, the court

must extend the time for service for an appropriate period.” “Good cause ‘requires a showing

that the plaintiff ‘made reasonable and diligent efforts to effect service prior to the 120–day3

limit, which may include a showing that plaintiff’s attempts at service were unsuccessful due to a


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 Fed. R. Civ. Proc. 4(m) was amended to reduce the time for service of a summons from 120
days to 90 days, effective December 1, 2015.

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putative defendant’s evasion of process. Accordingly, the court may find good cause ‘where the

plaintiff has taken some affirmative action to effectuate service of process upon the defendant or

ha[s] been prohibited, through no fault of his own, from taking such an affirmative action.’”

Chen v. Mayor & City Council of Baltimore, 292 F.R.D. 288, 293 (D. Md.), aff’d, 546 F. App’x

187 (4th Cir. 2013). The Fourth Circuit has identified six factors that are considered when

determining whether a party has good cause for an extension of the FRCP 4(m) time limit:

       1) the delay in service was outside the plaintiff’s control, 2) the defendant was
       evasive, 3) the plaintiff acted diligently or made reasonable efforts, 4) the plaintiff
       is pro se or in forma pauperis, 5) the defendant will be prejudiced, or 6) the
       plaintiff asked for an extension of time under Rule 6(b)(1)(A).

Scott v. Maryland State Dep’t of Labor, 673 F. App’x 299, 306 (4th Cir. 2016).

       In the instant case, in addition to failing to serve the Summons and Complaint on an

individual authorized to accept service of the same, it is now past the ninety (90) day time frame

for service after the filing of a complaint. The Summons was issued on July 22, 2020. Thus, the

90-day period expired on October 22, 2017. As such, Prestige was never properly served during

the 90-day period.

       Plaintiff cannot demonstrate good cause for her failure to effectuate service, as it is

evident from the record the defect in service was well within the bounds of Plaintiff’s control.

The identity of Prestige’s resident agent is readily accessible to any member of the public via the

Maryland Department of Assessments and Taxation’s online business entity database, and there

is nothing in the record that would suggest that Defendant has in any way evaded proper service.

See Davey Tree Expert Co., 2020 U.S. Dist. LEXIS 6929, at *8–9 (finding that plaintiff’s failure

to serve defendant’s resident agent, whose identity was known to plaintiff, or make a good faith

attempt to do so did not effectuate proper service of process on an employee of defendant). In

regard to diligence or reasonable efforts made to effectuate service, the record reflects that



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Plaintiff merely provided the papers to a process server to attempt to serve any individual that

may have been affiliated with Prestige at the location of their business. Plaintiff has not in any

way provided facts to support that she reasonably believed that Mr. Shah was a Member of or the

Resident Agent for Prestige, or that he was otherwise authorized by law or by appointment to

accept service of process on behalf of Prestige. Fed. R. Civ. Proc. 4(h)(1), 4(e)(1); Md. Rule 2-

124(h). In fact, the Return of Service on its face suggests the contrary. It identifies Mr. Shah

merely as the “General Manager,” a description that does not implicate one designated or

appointed by law to accept service of process. There is no contention that Mr. Shah suggested or

implied that he was authorized to accept service on behalf of Prestige. Further, Plaintiff has the

benefit of counsel in these proceedings, yet failed to take the actions necessary to establish

reasonable diligence in effectuating service.

          Because no rule or statute could permit Plaintiff to believe that they effectively served

Prestige, Plaintiff cannot establish good cause. It is well established that a misinterpretation of

Rule 4 is not good cause for failure to serve process: the “mistake of counsel or ignorance of the

rules [is] insufficient to show good cause.” Despain v. Salt Lake Area Metro Gang Unit, 13 F.3d

1436, 1439 (10th Cir. 1994) (citing Winters v. Teledyne Movible Offshore, Inc., 776 F.2d 1304,

1306 (5th Cir. 1985) (“’good cause’” … require[s] at least as much as would be required to show

excusable neglect, as to which simple inadvertence or mistake of counsel or ignorance of the

rules usually does not suffice”) (emphasis in original); see also Wei v. State of Hawaii, 763 F.2d

370, 372 (9th Cir. 1985) (“The inadvertence of Wei’s counsel likewise does not qualify as good

cause for Wei’s failure to comply with Rule 4(j).4 The rule is intended to force parties and their


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    The text of Rule 4(j) as it was enacted at the time of Wei is as follows:

                  If a service of the summons and complaint is not made upon a
                  defendant within 120 days after the filing of the complaint and the

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attorneys to be diligent in prosecuting their causes of action.”); Geller v. Newell, 602 F. Supp.

501, 502 (S.D.N.Y. 1984) (“The harsh sanction of Rule 4(j) is appropriate to those cases in

which non-service was the result of mere inadvertence.”); Arroyo v. Wheat, 102 F.R.D. 516, 518

(D.Nev.1984) (Rule 4(j) is aimed at “[i]advertent or heedless non-service”); Coleman v.

Greyhound Lines, Inc., 100 F.R.D. 476, 477 (N.D. Ill. 1984).

                                          CONCLUSION

       In sum, Plaintiff failed to serve Prestige by any of the accepted or recognized means of

service in accordance with either the Federal Rules of Civil Procedure or the Maryland Rules.

Moreover, the 90-day window to effectuate proper service has expired. Absent proper service,

and the window for effectuating such service having expired, this Court lacks jurisdiction over

Prestige, and the claims against it must be dismissed in their entirety.

       WHEREFORE, Defendant Prestige Hospitality Group, LLC, respectfully requests that

this Honorable Court dismiss the instant lawsuit filed against it in its entirety for lack of

sufficient service of process.




               party on whose behalf such service was required cannot show good
               cause why such service was not made within that period, the action
               shall be dismissed as to that defendant without prejudice upon the
               court's own initiative with notice to such party or upon motion.




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Respectfully submitted,



/s/Eric M. Rigatuso
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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 29th day of October, 2020, copies the foregoing

MEMORANDUM OF LAW IN SUPPORT PRESTIGE HOSPITALITY GROUP, LLC’S

MOTION TO DISMISS were served via the Court’s Electronic Filing System on counsel of

record:

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                                                 /s/Eric M. Rigatuso
                                                 Eric M. Rigatuso (Bar Number 27605)




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